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     Attorneys for Defendant
14   EDUCATIONAL CREDIT MANAGEMENT CORPORATION
15                               UNITED STATES DISTRICT COURT
16                          CENTRAL DISTRICT OF CALIFORNIA
17
     A J REYES and BEHESHTA MAHBOOB,              MISC. CASE NO.
18   on behalf of themselves
     and all others similarly situated,           [Underlying Case No. 3:15-cv-00628-
19                                                BAS-AGS, pending in the Southern
                   Plaintiffs,                    District of California]
20
           vs.                                    NOTICE OF MOTION AND MOTION
21                                                TO COMPEL DEPOSITION
     EDUCATIONAL CREDIT                           TESTIMONY
22   MANAGEMENT CORPORATION,
                                                  Date:      TBD
23                 Defendant.                     Time:      TBD
                                                  Judge:     TBD
24                                                Discovery Cutoff Date: None
                                                  Pretrial Conference Date: None
25                                                 Trial Date: None
26
27
28
                                Reyes v. Educational Credit Management Corp., No. 15cv628
                 NOTICE OF MOTION RE: JOINT STIPULATION RE: PLAINTIFFS’ MOTION TO COMPEL
                                                                    DEPOSITION TESTIMONY
 Case 2:20-mc-00012-JAK-AGR Document 1 Filed 02/04/20 Page 2 of 4 Page ID #:2


 1
           TO ALL PARTIES AND TO THEIR COUNSEL OF RECORD:
 2
           PLEASE TAKE NOTICE that Plaintiff AJ Reyes and Beheshta Mahboob will,
 3
     and hereby do, move for an order granting Plaintiffs’ Motion to Compel the deposition
 4
     testimony from counsel for Defendant Educational Credit Management Corporation
 5
     (“ECMC”), David J. Kaminski.
 6
           The Motion will be based on this Notice of Motion and Motion, the Joint
 7
     Stipulation pursuant to Local Rule 37-1, the Declaration of Alexis M. Wood and
 8
     supporting Exhibits and the Declaration of David Kaminski, each filed herewith, all of
 9
     the files and records of the Underlying Case No. 3:15-cv-00628-BAS-AGS, pending in
10
     the Southern District of California, and on any additional material that may be elicited at
11
     any hearing of this Motion.
12
13
     DATED: February 4, 2020                Respectfully submitted,
14
15                                          /s/ Alexis M. Wood
16                                          By: Alexis M. Wood
                                            LAW OFFICES OF RONALD A. MARRON
17                                          RONALD A. MARRON
18                                          ALEXIS WOOD
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28                                               1

                          Reyes v. Educational Credit Management Corp., No. 15cv628
        NOTICE OF MOTION AND MOTION TO COMPEL DEFENDANT’S DISCOVERY RESPONSES
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 1                                    Attorneys for Plaintiff and the Proposed Clas

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                         Reyes v. Educational Credit Management Corp., No. 15cv628
       NOTICE OF MOTION AND MOTION TO COMPEL DEFENDANT’S DISCOVERY RESPONSES
 Case 2:20-mc-00012-JAK-AGR Document 1 Filed 02/04/20 Page 4 of 4 Page ID #:4


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